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10                         UNITED STATES DISTRICT COURT
11                        NORTHERN DISTRICT OF CALIFORNIA
12
          Jitendra Kumar,                                    Case No: ________________
13
14                             Plaintiff,                    Complaint For Damages
          v.
15                                                           Jury Trial Demanded
16        General Revenue Corporation,

17                             Defendant.
18
19
20                                            INTRODUCTION
21   1.        Jitendra Kumar, (“Plaintiff”), through Plaintiff's attorneys, brings this action
22             to challenge the actions of General Revenue Corporation, (“Defendant”), with
23             regard to attempts by Defendant to unlawfully and abusively collect a debt
24             allegedly owed by Plaintiff, and this conduct caused Plaintiff damages.
25   2.        Plaintiff makes these allegations on information and belief, with the exception
26             of those allegations that pertain to a plaintiff, which Plaintiff alleges on
27             personal knowledge.
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 1   3.    While many violations are described below with specificity, this Complaint
 2         alleges violations of the statutes cited in their entirety.
 3   4.    Unless otherwise stated, all the conduct engaged in by Defendant took place
 4         in California.
 5   5.    Any violations by Defendant were knowing, willful, and intentional, and
 6         Defendant did not maintain procedures reasonably adapted to avoid any such
 7         specific violation.
 8   6.    Through this complaint, Plaintiff does not allege that any state court judgment
 9         was entered against Plaintiff in error, and Plaintiff does not seek to reverse or
10         modify any judgment of any state court.
11                                     JURISDICTION AND VENUE
12   7.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. §
13         1692(k), and 28 U.S.C. § 1367 for supplemental state claims.
14   8.    This action arises out of Defendant's violations of the Fair Debt Collection
15         Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”) and the Rosenthal Fair
16         Debt Collection Practices Act, California Civil Code §§ 1788-1788.32
17         (“Rosenthal Act”).
18   9.    Plaintiff is a natural person who resides in the City of Hayward, County of
19         Alameda, State of California.
20   10.   Plaintiff resides in Alameda County, as defined by 28 U.S.C. § 1391c(1), the
21         judicial district in which this lawsuit is brought.
22   11.   At the time of the substantial part of the events or omissions giving rise to the
23         claim occurred, specifically, Plaintiff contacting Defendant by telephonic
24         communication, Plaintiff was physically located in the City of Hayward,
25         County of Alameda, State of California.
26   12.   Because a substantial part of the events or omissions giving rise to the claim
27         occurred in Alameda County, venue is proper pursuant to 28 U.S.C. §
28         1391b(2).

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 1   13.   At all times relevant, Defendant conducted business within the State of
 2         California.
 3                                                 PARTIES
 4   14.   Plaintiff is a natural person who resides in the City of Hayward, State of
 5         California.
 6   15.   Defendant is located in the City of Mason, in the State of Ohio.
 7   16.   Plaintiff is a natural person allegedly obligated to pay a debt, and is a
 8         consumer‚ as that term is defined by 15 U.S.C. § 1692a(3).
 9   17.   Defendant is a person who uses an instrumentality of interstate commerce or
10         the mails in a business the principal purpose of which is the collection of
11         debts, or who regularly collects or attempts to collect, directly or indirectly,
12         debts owed or due or asserted to be owed or due another and is therefore a
13         debt collector as that phrase is defined by 15 U.S.C. § 1692a(6).
14   18.   Plaintiff is a natural person from whom a debt collector sought to collect a
15         consumer debt which was due and owing or alleged to be due and owing from
16         Plaintiff, and is a debtor as that term is defined by California Civil Code §
17         1788.2(h).
18   19.   Defendant, in the ordinary course of business, regularly, on behalf of himself,
19         herself, or others, engages in debt collection as that term is defined by
20         California Civil Code § 1788.2(b), is therefore a debt collector as that term is
21         defined by California Civil Code § 1788.2(c).
22   20.   This case involves money, property or their equivalent, due or owing or
23         alleged to be due or owing from a natural person by reason of a consumer
24         credit transaction. As such, this action arises out of a consumer debt and
25         “consumer credit” as those terms are defined by Cal. Civ. Code § 1788.2(f).
26                                       FACTUAL ALLEGATIONS
27   21.   Sometime before August 28, 2014, Plaintiff is alleged to have incurred certain
28         financial obligations.

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 1   22.   These financial obligations were primarily for personal, family or household
 2         purposes and are therefore a “debt” as that term is defined by 15 U.S.C.
 3         §1692a(5).
 4   23.   These alleged obligations were money, property, or their equivalent, which is
 5         due or owing, or alleged to be due or owing, from a natural person to another
 6         person and are therefore a “debt” as that term is defined by California Civil
 7         Code §1788.2(d), and a “consumer debt” as that term is defined by California
 8         Civil Code §1788.2(f).
 9   24.   Sometime thereafter, but before August 28, 2014, Plaintiff allegedly fell
10         behind in the payments allegedly owed on the alleged debt. As it is irrelevant
11         to this action, Plaintiff currently takes no position as to the validity of this
12         alleged debt.
13   25.   Subsequently, but before August 28, 2014, the alleged debt was assigned,
14         placed, or otherwise transferred, to Defendant for collection.
15   26.   On or about August 28, 2014, Defendant contacted Plaintiff at 10:00 PM from
16         the phone number (800) 436-5248.
17   27.   On or about August 29, 2014, Defendant contacted Plaintiff at 1:00 AM from
18         the phone number (607) 562-4766.
19   28.   Without the prior consent of the consumer given directly to the Defendant or
20         the express permission of a court of competent jurisdiction, Defendant
21         communicated with the consumer in connection with the collection of a debt
22         at an unusual time or place or a time or place known or which should be
23         known to be inconvenient to the consumer. Consequently, Defendant violated
24         15 U.S.C. § 1692c(a)(1).
25   29.   Because this violated certain portions of the federal Fair Debt Collection
26         Practices Act as these portions are incorporated by reference in the Rosenthal
27         Fair Debt Collection Practices Act, through California Civil Code § 1788.17,
28         this conduct or omission violated Cal. Civ. Code § 1788.17.

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 1   30.   On or about September 8, Defendant called Plaintiff’s son and disclosed
 2         Plaintiff’s alleged debt.
 3   31.   On or about September 8, Defendant contacted Plaintiff’s wife’s sister, Donna
 4         Sing, and disclosed Plaintiff’s alleged debt.
 5   32.   On or about September 9, Defendant contacted Plaintiff’s wife’s sister, Asha
 6         Sing, and disclosed Plaintiff’s alleged debt.
 7   33.   On or about September 10, Defendant contacted Plaintiff’s wife’s sister, Joani
 8         Kumar, and disclosed Plaintiff’s alleged debt.
 9   34.   On or about September 10, Defendant contacted Asha Sing’s ex-husband, Ajit
10         Sing and disclosed Plaintiff’s alleged debt.
11   35.   Except as provided in 15 U.S.C. § 1692b, and without the prior consent of the
12         consumer given directly to the Defendant, and without the express permission
13         of a court of competent jurisdiction, and for a purpose not reasonably
14         necessary to effectuate a postjudgment judicial remedy, Defendant
15         communicated, in connection with the collection of a debt, with a person
16         other than the consumer, his attorney, a consumer reporting agency, the
17         creditor, the attorney of the creditor, or the attorney of Defendant.
18         Consequently, Defendant violated 15 U.S.C. § 1692c(b).
19                                          CAUSES OF ACTION
20                                                 COUNT I
21                     FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
22                                      15 U.S.C. §§ 1692 ET SEQ.
23   36.   Plaintiff repeats, re-alleges, and incorporates by reference, all other
24         paragraphs.
25   37.   The foregoing acts and omissions constitute numerous and multiple violations
26         of the FDCPA, including but not limited to each and every one of the above-
27         cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.
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 1   38.    As a result of each and every violation of the FDCPA, Plaintiff is entitled to
 2          any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in
 3          an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,
 4          reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from
 5          Defendant.
 6                                                COUNT II
 7         ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT (ROSENTHAL ACT)
 8                                 CAL. CIV. CODE §§ 1788-1788.32
 9   39.    Plaintiff repeats, re-alleges, and incorporates by reference, all other
10          paragraphs.
11   40.    The foregoing acts and omissions constitute numerous and multiple violations
12          of the Rosenthal Act, including but not limited to each and every one of the
13          above-cited provisions of the Rosenthal Act, Cal. Civ. Code §§ 1788-1788.32
14   41.    As a result of each and every violation of the Rosenthal Act, Plaintiff is
15          entitled to any actual damages pursuant to Cal. Civ. Code § 1788.30(a);
16          statutory damages for a knowing or willful violation in the amount up to
17          $1,000.00 pursuant to Cal. Civ. Code § 1788.30(b); and reasonable attorney’s
18          fees and costs pursuant to Cal. Civ. Code § 1788.30(c) from Defendant.
19                                         PRAYER FOR RELIEF
20   WHEREFORE, Plaintiff prays that judgment be entered against Defendant, and
21   Plaintiff be awarded damages from Defendant, as follows:
22          •     An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §
23                1692k(a)(2)(A);
24          •     An award of costs of litigation and reasonable attorney’s fees, pursuant
25                to 15 U.S.C. § 1692k(a)(3);
26          •     An award of statutory damages of $1,000.00 pursuant to Cal. Civ. Code
27                § 1788.30(b);
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 1         •      An award of costs of litigation and reasonable attorney’s fees, pursuant
 2                to Cal. Civ. Code § 1788.30(c).
 3   42.   Pursuant to the seventh amendment to the Constitution of the United States of
 4         America, Plaintiff is entitled to, and demands, a trial by jury.
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 6   Respectfully submitted,
                                                              Hyde & Swigart
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 8
     Date: September 12, 2014                           By:s/Crosby S. Connolly
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                                                           Crosby S. Connolly
10                                                         Attorneys for Plaintiff
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